 

 

United States District Court

SOUTHERN DISTRICT OF — . TEXAS

 

 

McALLEN DIVISION

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' UNITED STATES OF AMERICA

or CRIMINAL COMPLAINT

Ricardo Canales PRINCIPAL Case Number:
YOB: 1980

United States . M-18- Uy | 3

(Name and Address of Defendant) ~
I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about November 24, 2018 in __Hidalgo County, in

the Southern District of Texas defendants(s) did,

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Eudoxia Hernandez-Garcia, a national of Mexico, along with
one (1) other undocumented alien, for a total of two (2), who had entered the United States in violation of law,
did knowingly transport, or move or attempted to transport said aliens in furtherance of such violation of law
within the United States, that is, from a location near Los Ebanos, Texas to the point of arrest near Mission,
Texas,

in violation of Title 8 United States Code, ‘Section(s) 1324(a)(1)(A)(ii) FELONY ‘

 

I further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following facts:

~On November 24, 2018, Border Patrol Agents (BPA) interdicted a group of illegal aliens (IA) that crossed the Rio
Grande River in Los Ebanos, Texas. While Agents were searching for more IAs, they observed a grey pickup
truck traveling at an unusually slow pace near known smuggling locations and driving past them multiple times
without a specific destination. Approximately six to eight [As remained hidden in the brush and were not,
arrested, Agents then left the scene.

SEE ATTACHED

Continued on the attached sheet and made a part of this complaint: LX\ves LI No
Peproved Lavra Qrereta

 

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Gerardo Montalvo Senior Patrol Agent
Sworn to before me and subscribed in my presence, Printed Name of Complainant
)
November 26, 2018 ~ 2°4GeAh, : at McAllen, Texas
Date . City and State

Juan F. Alanis , U.S. Magistrate Judge C i Qo

Name and Title of Judicial Officer : Jomrature of Judicial Officer
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SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:

M-18-2 4Y\S -M

RE: Ricardo Canales

CONTINUATION:

Shortly after, the McAllen Border Patrol Station received a call from a reliable source and stated that
a grey extended cab pick-up truck had loaded up with illegal aliens in Los Ebanos, Texas. An Agent
nearby responded and immediately saw a vehicle matching the description driving northbound, away
from Los Ebanos, Texas. The Agent saw a male subject sitting on top of the center console between
the driver and front passenger seats. The subject was sitting much higher than the other passengers | ‘of
the vehicle. The vehicle’s registration returned to an address from Mission, Texas. It is a common ;
trend for smugglers to use vehicles registered from other locations. The vehicle was also weaving |
through traffic attempting to evade the Agent. The Agent further suspected the vehicle was
transporting IAs because the Agent was‘able to recognize the pick-up truck as the one he suspected of
being involved in the smuggling earlier that same day. !
The Agent activated his emergency equipment in attempt to,conduct an immigration inspection on the
passengers. The driver of the grey pick-up truck then sped off and led Border Patrol Agents to a
lengthy vehicle pursuit. The Agent observed the driver endangering the public by running red traffic
lights, speeding through stop signs, and travel at high speeds. The driver eventually lost control of the
vehicle and crashed into a fence post. The Agent then observed eight (8) passengers bail out of the
pick-up truck and abscond into a wooded area. The Agent was at a close range and was able to see the
driver, later identified as Ricardo Canales, and the front passenger, later identified as Jose Luis
Gonzalez, get out of the vehicle and run away. The Agent began chasing Canales on foot until later
affecting the arrest. After a brief search, Agents were able to apprehend Gonzalez and two IAs.

All subjects were transported to the Border Patrol Station.
PRINCIPAL STATEMENT:

Ricardo Canales was advised'of his Miranda Rights. He stated he understood his Rights; however, he‘
was not willing to provide a sworn statement without legal counsel.

. MATERIAL WITNESS:
Eudoxia Hernandez-Garcia, a citizen of Mexico, is a smuggled alien being held as a material witness.
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